                               UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN

       UNITED STATES OF AMERICA
                                                              ARRAIGNMENT AND PLEA MINUTES
                         v.
                                                                      CASE NUMBER 25-CR-89
              HANNAH C. DUGAN

 HONORABLE Stephen C. Dries, presiding                                Court Reporter: Jennifer Stake
 Deputy Clerk: Katina Hubacz                                          Hearing Began: 9:00 AM
 Hearing Held: May 15, 2025 at 9:00 AM                                Hearing Ended: 9:04 AM
Appearances:
UNITED STATES OF AMERICA by: Richard G. Frohling
HANNAH C. DUGAN, in person, and by: Steven M. Biskupic, Jason D. Luczak, Nicole M. Masnica,  RET
U.S. PROBATION OFFICE by: Jesse Sorkness
INTERPRETER:  None  Sworn
 Original Indictment      Superseding Indictment       Information      Misdemeanor         Felony

 Speedy Trial Date:     July 22, 2025                        District Judge:     Lynn Adelman
 Plea Deadline:                                              Bond Judge:         Stephen C. Dries
 Final Pretrial Report                                       Magistrate Judge:   Nancy Joseph
 Final Pretrial Conf.:  July 9, 2025 at 10:30 AM             Motions Due:        May 30, 2025
 Jury Trial Date:       July 21, 2025 at 8:30 AM             Responses Due:      June 9, 2025
 Trial Length Estimate: 1 week                               Replies Due:        June 16, 2025

  Defendant consents to proceed via video                   Government to disclose grand jury materials
  Defendant advised of rights                                one day prior to trial
  Court orders counsel appointed                            Oral Motion for Complex Designation
  Defendant advised of charges, penalties, and fines          Granted  Denied
  Copy of indictment received by defendant                    Referred to Nancy Joseph
    Indictment read  defendant waives reading              Case designated complex
  Not guilty plea entered by:  defendant  the court       Counsel Only Scheduling Conference:
  Expanded discovery policy applies (See Order below)
   Discovery available: in process                              before Magistrate Judge Nancy Joseph
Maximum Penalties:
Ct 1: 1 yr IMP, $100,000 fine, 1 yr SR, $25 SA
Ct 2: 5 yrs IMP, $250,000 fine, 3 yrs SR, $100 SA

Govt:
- Pending motion for protective order – will roll out discovery once that’s ruled on
- Small number of video excerpts provided yesterday due to agreement amongst the parties
Defense:
- Request waiver of Defendant’s appearance at any of the upcoming scheduling matters
- Would like to alert Judge Adelman to the fact that the parties have already discussed jury selection issues
    and a jury questionnaire that parties would jointly submit to the court
Court:
- Confirms scheduling conferences will be before Judge Joseph and are typically counsel only – any waiver
    for matters requiring the Defendant’s appearance should be addressed to Judge Joseph
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        Bond continued as previously set

IT IS HEREBY ORDERED that as required by Federal Rule of Criminal Procedure 5(f), the court ORDERS
that the government must produce all exculpatory information to the defendant(s) as required by Brady v.
Maryland, 373 U.S. 83 (1963) and its progeny. Failure to comply with this order in a timely manner may result
in sanctions, including exclusion of evidence, adverse jury instructions, dismissal of charges and contempt
proceedings.




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